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                               UNITED STATES DISTRICT COURT
7
                                      DISTRICT OF NEVADA
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9    DANNY ANDREW YOUNG,                             Case No. 2:12-cv-00524-RFB-NJK
10          Petitioner,
                                                              ORDER
11          v.
12
     BRIAN WILLIAMS, et al.,
13
            Respondents.
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15         In this represented habeas matter under 28 U.S.C. § 2254, for good cause shown
16   or appearing to the Court sua sponte,
17         IT IS ORDERED that Petitioner’s unopposed Motion for Virtual Deposition in Lieu
18   of Live Testimony (ECF No. 77) is GRANTED, and the parties may take the virtual
19   deposition of witness Kevin Leik for use for the evidentiary hearing.
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           IT FURTHER IS ORDERED that the Court expedites the briefing schedule on
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     Petitioner’s pending Motion for Client Access via Videoconference (ECF No. 79), with
22
     Respondents’ response due by 5:00 p.m. on Friday, August 7, 2020, and Petitioner’s
23
     optional reply due by 5:00 p.m. on Tuesday, August 11, 2020.
24         DATED: July 31, 2020.
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                                       ________________________________
27                                       RICHARD F. BOULWARE, II
                                         United States District Judge
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